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                               UNITED STATES DISTRICT COURT

                           SOUTHERN DISTRICT OF NEW YORK


  DAREN LEVIN, individually and on                 Case No. 1:15-cv-07081
  behalf of all others similarly situated,
                                                   Hon. Louis L. Stanton
                                  Plaintiff,

          v.                                       PLAINTIFFS’ NOTICE OF UNOPPOSED
                                                   MOTION FOR (I) PRELIMINARY
                                                   APPROVAL OF SETTLEMENT, (II)
  RESOURCE CAPITAL CORP.,                          APPROVAL OF NOTICE TO THE
  JONATHAN Z. COHEN, DAVID J.                      SETTLEMENT CLASS, AND (III) FINAL
  BRYANT, ELDRON C. BLACKWELL,                     APPROVAL HEARING
  and DAVID E. BLOOM,

                                  Defendants.



TO THE CLERK OF THE COURT AND ALL PARTIES AND THEIR COUNSEL OF
RECORD:

       PLEASE TAKE NOTICE that Class Representatives Douglas Drees and Allen Altman

(“Plaintiffs”), by and through his counsel, will and hereby do move this Court, under Rule 23 of the

Federal Rules of Civil Procedure, for entry of an order: (i) preliminarily approving the proposed

Settlement; (ii) approving the form and manner of giving notice of the proposed Settlement to

Class Members; and (iii) scheduling a hearing to consider final approval of the Settlement, the

Plan of Allocation, Lead Counsel’s motion for an award of attorneys’ fees and reimbursement of

litigation expenses, and Plaintiffs’ requests for an incentive award.

       Plaintiffs’ motion is supported by the Stipulation and Agreement of Settlement dated

February 5, 2018 (filed herewith as Docket No. 78), including the exhibits attached thereto, and

the accompanying brief in support. Attached hereto is the parties’ agreed-upon Proposed Order

granting Plaintiffs’ motion.
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Dated: February 5, 2018             Respectfully submitted,


                                    LEVI & KORSINSKY, LLP

                                    /s/ Adam M. Apton
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                                    Attorneys for Plaintiffs Douglas Drees and Allen
                                    Altman and Lead Counsel for the Class




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